                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             3:14-CV-225-RJC-DCK


TITLE TRADING SERVICES USA, INC.      )
                                      )
            Plaintiff,                )
                                      )
      vs.                             )                            ORDER
                                      )
ARINDAM KUNDU, COASTAL                )
MANAGEMENT LLC, MARC PRESTON, )
SYED SAIF ASHRAF, DEREK CHIU, and )
ELIOT T. SMITH,                       )
                                      )
            Defendants.               )
_____________________________________ )

            FINAL JUDGMENT AND AGREED PERMANENT INJUNCTION

       THIS MATTER comes before the Court on the Agreed Joint Motion for Entry of

Default, Final Judgment and Permanent Injunction (the “Motion”), (Doc. No. 97), filed by

Plaintiff Title Trading Services USA Inc. (“Plaintiff”) and Defendants Coastal Management

LLC (“Coastal Management”), Marc Preston (“Preston”), Syed Saif Ashraf (“Ashraf”), and

Derek Chiu (“Chiu”) (collectively, the “Settling Defendants”). Having considered the Motion,

the record in this case, and applicable law, the Court hereby FINDS as follows:

       1.     Plaintiff and the Settling Defendants have announced that they have resolved their

differences in this action and in connection therewith have stipulated to the entry of this Final

Judgment and Agreed Permanent Injunction.

       2.     Notwithstanding assertions of lack of personal jurisdiction previously made by

Coastal, Preston, and Ashraf, such parties waive such defenses.        Plaintiff and all Settling

Defendants consent and submit to the continuing jurisdiction of this Court over this dispute as




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resolved hereby, and therefore the Court finds that it has jurisdiction over the dispute and the

parties thereto.

        3.         For purposes hereof, the following terms shall have the indicated meanings:

                   a. The terms “Title Trade Secrets;” “Kundu Generated IP;” “Implementing

                      Software;” and “Execution Software” shall all have the meanings as set forth

                      and defined in the Verified Complaint, (Doc. No. 1); Memorandum of

                      Law in Support of Application for Temporary Restraining Order and

                      Preliminary Injunction, (Doc. No. 6); Declaration of George Elio,

                      (Doc. No. 6-1); and Declaration of Seif El Kilany, (Doc. No. 6-2) (copies of

                      which Memorandum and Declarations are incorporated by reference herein).

                   b. The term “Enjoined Materials” shall mean all of Title Trade Secrets,

                      Kundu Generated IP, Implementing Software, and Execution Software.

                   c. The term “Affiliates or Confederates” means as to each Settling Defendant, all

                      of its heirs, directors, officers, employees, agents, servants, representatives,

                      shareholders, parent corporations, subsidiaries, affiliates, insurers, successors

                      and assigns, and any and all other persons or entities in active concert or

                      participation with any of them who receive actual notice of this Judgment and

                      Injunction, whether by personal service, email, fax, or otherwise.

        4.         By execution hereof, each of the Settling Defendants does hereby declare under

penalty of perjury that it has not conveyed, transferred, provided, or otherwise allowed anyone to

have a copy of any of the Enjoined Materials at any time including without limitation any of its

Affiliates or Confederates.

        5.         By execution hereof, each of the Settling Defendants does hereby declare under




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penalty of perjury that any and all embodiments, reproductions, and/or copies of any of the

Enjoined Materials in their possession, custody or control have been either (a) destroyed or (b)

returned to Plaintiff. No further proof or evidence of such destruction or return need be provided

by the Settling Defendants other than the declaration referenced.

       IT IS, THEREFORE, ORDERED that:

       1.      Each Settling Defendant and all of their Affiliates and Confederates are hereby

PERMANANTLY ENJOINED AND RESTRAINED from possessing, retaining, transferring,

using, copying, disclosing, or revealing any of the Enjoined Materials at any time.

       2.      Plaintiff and each Settling Defendant shall each bear their own costs in connection

with this action.

       3.      This Final Judgment and Agreed Permanent Injunction shall constitute the final

judgment in this action as against each Settling Defendant, each of whom shall be deemed

dismissed from any remaining claims in this case.

       4.      This Court retains jurisdiction to enforce this injunction.

       5.      The Bond previously posted by Plaintiff shall be released back to Plaintiff on the

date hereof.


 Signed: December 22, 2015




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